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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )      No. 23-cr-32 (TNM)
                                             )
 VICTOR SEAN DENNISON,                       )
                                             )
                       Defendant.            )
                                             )

                    NOTICE OF APPEARANCE AS STANDBY COUNSEL

        Please enter the appearance of First Assistant Federal Public Defender Michelle

Peterson as standby counsel only on behalf of the defendant, Victor Sean Dennison, in the above

captioned matter.


                                            Respectfully submitted,

                                            A. J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                                   /s/

                                            MICHELLE M. PETERSON
                                            First Assistant Federal Public Defender
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